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                    EXHIBIT B
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           United States Court of Appeals
                for the Fifth Circuit                           United States Court of Appeals
                                                                         Fifth Circuit

                              _____________                            FILED
                                                                November 15, 2024
                                No. 24-30706                      Lyle W. Cayce
                              _____________                            Clerk

   Darcy Roake, Reverend, on behalf themselves and on behalf
   of their minor children, real party in interest A.V., real party
   in interest S.V.; Adrian Van Young, on behalf of themselves and
   on behalf of their minor children, real party in interest A.V., real
   party in interest S.V.; Mamie Broadhurst, Reverend, on
   behalf of themselves and on behalf of their minor child, real party in
   interest N.W.; Richard Williams, Reverend, on behalf of
   themselves and on behalf of their minor child, real party in interest
   N.W.; Jeff Sims, Reverend, on behalf of himself and on behalf of his
   minor children, real party in interest A.S., real party in
   interest C.S. 1, real party in interest C.S. 2; Jennifer
   Harding, on behalf of themselves and on behalf of their minor child, real
   party in interest A.O.; Benjamin Owens, on behalf of themselves
   and on behalf of their minor child, real party in interest A.O.;
   David Hawley, on behalf of themselves and on behalf of their minor children
   real party in interest A.H., real party in interest L.H.;
   Erin Hawley, on behalf of themselves and on behalf of their minor children,
   real party in interest A.H, real party in interest L.H.;
   Dustin McCrory, on behalf of themselves and on behalf of his minor
   children, real party in interest E.M.; real party in
   interest P.M., real party in interest L.M.; Gary
   Sernovitz, on behalf of themselves and on behalf of their minor child, real
   party in interest T.S.; Molly Pulda, on behalf of themselves and
   on behalf of their minor child. real party in interest T.S.;
   Christy Alkire, on behalf of herself and on hehalf of her minor child,
   real party in interest L.A.; Joshua Herlands, on behalf of
   himself and on behalf of his minor children, real party in interest
   E.H., real party in interest J.H.,
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                                 No. 24-30706




                                                        Plaintiffs—Appellees,


                                    versus


   Cade Brumley, in his official capacity as the Louisiana State
   Superintendent of Education; Conrad Appel, in his official capacity as a
   member of the Louisiana State Board of Elementary and Secondary Education
   (LSBESE); Judy Armstrong, in her official capacity as a member of the
   LSBESE; Kevin Berken, in his official capacity as a member of the
   LSBESE; Preston Castille, in his official capacity as a member of
   LSBESE; Simone Champagne, in her official capacity as a member of the
   LSBESE; Sharon Latten-Clark, in her official capacity as a member
   of the LSBESE; Lance Harris, in his official capacity as a member of
   LSBESE; Paul Hollis, Louisiana State Board of
   Elementary and Secondary Education; Sandy Holloway,
   in her official capacity as a member of the LSBESE; Stacey Melerine, in
   her official capacity as a member of the LSBESE; Ronnie Morris, in his
   official capacity as a member of the LSBESE; East Baton Rouge
   Parish School Board; Livingston Parish School Board;
   Vernon Parish School Board; St. Tammany Parish
   School Board,


                                                    Defendants—Appellants.

                ________________________________

                 Appeal from the United States District Court
                     for the Middle District of Louisiana
                           USDC No. 3:24-CV-517
                ________________________________

                         UNPUBLISHED ORDER




                                       2
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                                             No. 24-30706




   Before Smith, Graves, and Engelhardt, Circuit Judges.
   Per Curiam:
              IT IS ORDERED that Appellants’ opposed motion for an
   administrative stay pending the Court's disposition of the forthcoming
   motion for stay pending appeal is GRANTED.1




   1
       Judge Graves would deny the motion.




                                                  3
